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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

 THE HURRY FAMILY REVOCABLE
 TRUST; SCOTTSDALE CAPITAL                      CASE NO.: 8:18-cv-02869-CEH-CPT
 ADVISORS CORPORATION; and
 ALPINE SECURITIES CORPORATION,

       Plaintiffs/Counter-Defendants,

 vs.

 CHRISTOPHER FRANKEL,

       Defendant/Counter-Plaintiff.
 ___________________________________/

         UNOPPOSED MOTION TO RECEIVE SEALED TRANSCRIPT
          OF APRIL 21, 2021, HEARING FOR APPELLATE PURPOSES

       Plaintiffs, The Hurry Family Revocable Trust, Scottsdale Capital Advisors

 Corporation, and Alpine Securities Corporation, respectfully request that the

 Court enter an Order instructing the court reporter to: (1) file under seal the

 transcript of the hearing held on April 21, 2021, on Plaintiffs’ Motion to Continue

 Trial and Pretrial Conference and Incorporated Memorandum of Law, and

 (2) serve the transcript of the April 21, 2021, hearing only on counsel for the parties.

 The Court previously ordered on the record at the April 21, 2021, hearing that the

 transcript of that hearing would be sealed if it were ordered. The relief requested

 is necessary to allow appellate counsel to have access to the transcript. The

 grounds supporting this motion are set forth in in the following Memorandum.
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                                    MEMORANDUM

       Plaintiffs have filed a cross appeal of the final judgment, entered on May 7,

 2021 (Doc 304), and the order denying Defendant Frankel’s renewed motion for

 entry of judgment as a matter of law or alternatively for a new trial, entered on

 August 8, 2022 (Doc 403). As part of the record on appeal, appellate counsel and

 the Court of Appeals will need a transcript of the April 21, 2021, hearing on

 Plaintiffs’ Motion to Continue Trial and Pretrial Conference and Incorporated

 Memorandum of Law. Undersigned counsel therefore submitted a transcript

 information form requesting that a transcript of that hearing, among others, be

 prepared. Doc. 424.

       The court reporter has prepared the transcript of the April 21, 2021, hearing;

 however, the court reporter called to the attention of undersigned counsel that

 during the proceeding, this Court ordered the transcript be sealed if it was

 ordered. As a result, the court reporter has not filed the transcript of the April 21,

 2021, hearing in the court record or served it on counsel.

       In order to ensure that the April 21, 2021, hearing transcript, which the Court

 has previously ordered sealed, becomes part of the court record and to allow

 appellate counsel to have access to it, Plaintiffs request that the Court enter an

 order permitting the court reporter to file the transcript under seal and serve it

 only on counsel for the parties.


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                                    CONCLUSION

       Consistent with the Court’s April 21, 2021, order holding the transcript of

 the hearing on that date should be sealed, Plaintiffs respectfully request that this

 Court enter an (1) permitting the court reporter to file the transcript of the April

 21, 2021, hearing on Plaintiffs’ Motion to Continue Trial and Pretrial Conference

 and Incorporated Memorandum of Law with the Clerk of the Court under seal,

 and (2) directing the court reporter to maintain the confidentiality of the sealed

 transcript by releasing the transcript only to the to counsel of record for the parties.

                         CERTIFICATE OF CONFERENCE

       Pursuant to Middle District of Florida Local Rule 3.01(g), Counsel for

 Plaintiffs/Counter-Defendants, The Hurry Family Revocable Trust, Scottsdale

 Capital Advisors Corporation, and Alpine Securities Corporation, has conferred

 with counsel for Defendant/Counter-Plaintiff Christopher Frankel, David C.

 Banker, Esquire, who has graciously authorized undersigned counsel to represent

 that the Defendant does not oppose the relief requested.



                                         Respectfully submitted,


                                         /s/ Kristin A. Norse
                                         Kristin A. Norse




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                           CERTIFICATE OF SERVICE

       I certify that on April 5, 2023, the foregoing notice was electronically filed

 with the Clerk of the Court using the Electronic Filing System, which will serve a

 copy on all counsel of record.


                                       /s/ Kristin A. Norse
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